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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                            Case No. _____________________


    FEDERAL TRADE COMMISSION,
        Plaintiff,
          v.

    AMERICAN VEHICLE PROTECTION
    CORP., a corporation,

    CG3 SOLUTIONS INC., also d/b/a MY
    PROTECTION PLAN INC., a corporation,                  COMPLAINT FOR PERMANENT
                                                          INJUNCTION, MONETARY
    TONY ALLEN GONZALEZ, individually and                 RELIEF, AND OTHER RELIEF
    as an owner, officer, and/or manager of
    American Vehicle Protection Corp., CG3
    Solutions Inc., and Tony Gonzalez Consulting
    Group, Inc.

    TONY GONZALEZ CONSULTING GROUP,
    INC., also d/b/a THE GONZALEZ GROUP, a
    corporation,

    CHARLES GONZALEZ, individually and as
    an owner, officer, and/or manager of American
    Vehicle Protection Corp. and of CG3 Solutions
    Inc.,

    DANIEL KOLE, individually and as an owner,
    officer, and/or manager of American Vehicle
    Protection Corp. and of Kole Consulting
    Group, Inc.

    KOLE CONSULTING GROUP, INC., a
    corporation,
          Defendants.


        Plaintiff, the Federal Trade Commission (“FTC”), for its Complaint alleges:



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  1.      The FTC brings this action under Sections 13(b) and 19 of the Federal Trade Commission

  Act (“FTC Act”), 15 U.S.C. §§53(b) and 57b, and the Telemarketing and Consumer Fraud and

  Abuse Act (“Telemarketing Act”), 15 U.S.C. §§6101-6108, which authorize the FTC to seek,

  and the Court to order, preliminary and permanent injunctive relief, monetary relief, and other

  relief for Defendants’ acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C.

  §45(a), and in violation of the Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310.

  Defendants’ violations are in connection with their marketing and sale of purported extended

  automobile warranties, also known as vehicle service agreements.

                                    SUMMARY OF THE CASE

  2.      Since at least 2018, Defendants have deceptively marketed and sold purported “extended

  automobile warranties” to consumers across the United States. Through its telemarketers,

  Defendants misrepresent that they are, or are affiliated with, a consumer’s vehicle manufacturer

  or dealer. Under this guise, Defendants make illusory promises of “bumper-to-bumper”

  coverage or “full vehicle” coverage for their extended warranties, and they guarantee that

  consumers can obtain a refund within 30 days of either purchasing or receiving the warranty if

  they are not satisfied. The cost of the warranties generally ranges between $2800 and $3400.

  3.      In fact, Defendants are not, or are not affiliated with, a consumer’s vehicle manufacturer

  or dealer, and consumers do not receive “bumper-to-bumper” or “full vehicle” coverage. Many

  consumers pay hundreds or thousands of dollars to obtain the warranty from AVP but cannot

  obtain a refund. Defendants’ scheme has bilked consumers of over $6 million since 2018.

                                  JURISDICTION AND VENUE

  4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§1331, 1337(a), and

  1345.



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  5.     Venue is proper in this district under 28 U.S.C. §1391(b)(1), (b)(2), (c)(1), (c)(2), and 15

  U.S.C. §53(b).

                                          PLAINTIFF

  6.     The FTC is an independent agency of the United States Government created by the FTC

  Act, which authorizes the FTC to commence this district court civil action by its own attorneys.

  15 U.S.C. §§41–58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C. §45(a), which

  prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also enforces

  the TSR, 16 C.F.R. §310, which protects consumers from unfair, deceptive, and abusive

  telemarketing practices.

                                         DEFENDANTS

  7.     Defendant American Vehicle Protection Corp. (“AVP”) is a Florida corporation with its

  principal place of business at 700 E. Atlantic Blvd., Pompano Beach, Florida 33060. AVP

  transacts or has transacted business in this District and throughout the United States. At all times

  relevant to this Complaint, acting alone or in concert with others, AVP has advertised, marketed,

  distributed, or sold extended automobile warranties to consumers throughout the United States.

  8.     Defendant CG3 Solutions Inc., also d/b/a My Protection Plan Inc., (“MPP”) is a Florida

  corporation with its principal place of business at 700 E. Atlantic Blvd., Pompano Beach, Florida

  33060. MPP transacts or has transacted business in this District and throughout the United

  States. At all times relevant to this Complaint, acting alone or in concert with others, MPP has

  advertised, marketed, distributed, or sold extended automobile warranties to consumers

  throughout the United States.

  9.     Defendant Tony Allen Gonzalez is one of the managers or officers of AVP, MPP, and

  Tony Gonzalez Consulting Group, Inc. At all times relevant to this Complaint, acting alone and



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  in concert with others, he has formulated, directed, controlled, had the authority to control, or

  participated in the acts and practices set forth in this Complaint, including managing the day-to-

  day operations of the companies. Tony is the primary signatory on AVP company checks, which

  he uses to pay for the telemarketing scam, including paying for telemarketers, telephone service,

  leads, rent, the accountant, cleaning services, and taxes. He also endorses the remotely created

  checks from consumers that are deposited into AVP’s bank account. Tony Gonzalez resides in

  this District and, in connection with the matters alleged herein, transacts or has transacted

  business in this District and throughout the United States.

  10.    Defendant Tony Gonzalez Consulting Group, Inc., also d/b/a The Gonzalez Group,

  (“TGCG”) is a Florida corporation with its principal place of business at 249 NW 79th Ave.,

  Margate, Florida 33063. TGCG receives checks from AVP and is the conduit by which Tony

  Gonzalez is paid for the work he performs for AVP and MPP. Tony Gonzalez is sole owner of

  TGCG. TGCG transacts or has transacted business in this District.

  11.    Defendant Charles Gonzalez is one of the officers or managers of AVP and MPP. At all

  times relevant to this Complaint, acting alone or in concert with others, he has formulated,

  directed, controlled, had the authority to control, or participated in the acts and practices set forth

  in this Complaint. Charles is one of the two signatories on the bank account for My Protection

  Plan. Charles Gonzalez resides in this District and, in connection with the matters alleged

  herein, transacts or has transacted business in this District and throughout the United States.

  12.    Defendant Daniel Kole is an owner and one of the officers or managers of AVP, MPP,

  and Kole Consulting Group, Inc. At all times relevant to this Complaint, acting alone or in

  concert with others, he has formulated, directed, controlled, had the authority to control, or

  participated in the acts and practices set forth in this Complaint, including but not limited to



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  providing the start-up funds for AVP, reviewing telemarketers’ sales scripts and dictating

  changes to those scripts, and firing employees. Kole resides in this District and, in connection

  with the matters alleged herein, transacts or has transacted business in this District and

  throughout the United States.

  13.     Defendant Kole Consulting Group, Inc., (“KCG”) is a Florida corporation with its

  principal place of business at 13749 NW 22nd Street, Sunrise, Florida 33323. KCG receives

  checks from AVP and is the conduit by which Daniel Kole is paid for the work he performs for

  AVP and MPP. Daniel Kole is sole owner of KCG. KCG transacts or has transacted business in

  this District.

                                  COMMON ENTERPRISE

  14.     Defendants AVP, MPP, TGCG, and KCG (collectively, the “Corporate Defendants”)

  have operated as a common enterprise while engaging in the deceptive acts and practices and

  other violations of law alleged below. Corporate Defendants AVP and MPP have conducted the

  business practices described below as interrelated companies that have common managers,

  business functions, employees, and office locations, and have commingled funds. Corporate

  Defendants TGCG and KCG have facilitated the payment of these commingled funds to Tony

  Gonzalez, Charles Gonzalez, and Daniel Kole, (collectively, the “Individual Defendants”) and

  have managers common to the common enterprise; they are owned solely by Tony Gonzalez and

  Daniel Kole, respectively. Because these Corporate Defendants have operated as a common

  enterprise, each of them is liable for the acts and practices alleged below.




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                                          COMMERCE

  15.    At all times relevant to this Complaint, Defendants have maintained a substantial course

  of trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act, 15

  U.S.C. §44.

                           DEFENDANTS’ BUSINESS ACTIVITIES

  16.    Since at least 2018, Defendants have operated a scheme to trick consumers into paying

  hundreds and thousands of dollars for a purported “extended automobile warranty.” Specifically,

  in marketing and selling these warranties, Defendants make the following misrepresentations:

  (1) that AVP is, or is affiliated with, a consumer’s automobile manufacturer or dealer; (2) that

  the warranty provides “bumper-to-bumper” or “full vehicle” coverage; and (3) that AVP will

  provide a refund to consumers with no conditions or restrictions, if the consumer requests a

  refund within 30 days of purchasing or receiving the warranty.

                   Defendants Misrepresent That They Are Affiliated With
                        Consumers’ Car Dealers or Manufacturers

  17.    For the initial sales pitch, Defendants contact consumers through outbound telephone

  calls. Without mentioning AVP or MPP, the telemarketers follow a script in which they

  introduce themselves to consumers by saying: “Hi, this is Joe [or other name] with [__________]

  dealer services.” In the blank, the telemarketers use the name of the manufacturer or dealership

  of the car owned by the consumer. For example, an AVP telemarketer told a Ford owner that he

  was calling from “Dealer Services” about his Ford Focus. In another example, an AVP

  telemarketer told an owner of a Toyota that he was calling from Toyota. Still another AVP

  telemarketer told a Jeep owner that he was with “Chrysler/Jeep Dealer Services.”

  18.    Defendants sometimes state that they are from a company that handles the extended

  warranty sales for the consumer’s particular automobile manufacturer. For example, one

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  telemarketer told a consumer that his company handled all of the extended warranty sales for

  Chevrolet, which was the manufacturer of the consumer’s car.

  19.    Telemarketers transfer consumers interested in purchasing a purported warranty to so-

  called specialists, making statements such as “So I would like to get you on the line with my

  _________ specialist.” The blank is filled in by stating the name of the car that the consumer

  owns. Then these specialists make additional misrepresentations that AVP is affiliated with an

  automobile dealer or manufacturer, such as “I am from Ford.”

  20.    In truth, Defendants are not affiliated in any way with any automobile manufacturers or

  dealers. When consumers receive the warranty booklets in the mail from Corporate Defendants,

  after they have paid a down payment, the warranty booklets identify the sellers of the extended

  warranty as American Vehicle Protection and the claims administrator such as Palmer

  Administrative Services --- not any automobile manufacturer or dealer.

   Defendants Misrepresent That Their Warranties Provide “Bumper-to-Bumper” Coverage

  21.    Defendants also tell consumers that their extended warranty protects the car with

  “bumper-to-bumper coverage” or “full vehicle coverage.” In addition, Defendants often

  misrepresent that specific parts of consumers’ vehicles are included in the warranty, particularly

  when consumers ask whether particular parts or systems are covered.

  22.    Contrary to representations made by Defendants’ telemarketers, the warranties have

  significant restrictions and exceptions to coverage. The warranty booklet, which consumers do

  not see until they have paid their “down payment” or “initial payment,” contains a long list of

  parts and systems that are not covered and conditions under which coverage is not available. For

  example, during the sales pitch, one consumer asked if struts were covered, and the telemarketer

  told him that they were. However, the warranty booklet states that they are not covered, and



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  when the consumer tried to get that part repaired or replaced, coverage was refused. Another

  consumer was denied coverage for replacement of an oil pump, despite AVP’s telemarketing

  representations about full vehicle coverage.

             Defendants Falsely Promise That Consumers Can Obtain a Refund
                              If They Cancel Within 30 Days

  23.    Defendants promise consumers that they will be able to get their money refunded if they

  cancel the warranty within 30 days of either purchasing or receiving the warranty.

  24.    In numerous instances, upon discovering that the warranty does not come from their auto

  manufacturers or dealers or upon realizing that the “bumper-to-bumper” or “full vehicle”

  warranty coverage has major gaps and does not cover the full vehicle, many consumers attempt

  to cancel the warranty and obtain a refund. However, Defendants do not give the refunds

  promised to consumers. In some instances, consumers attempt to contact Defendants for a

  refund but are unable to reach anyone at AVP. Many phone calls go unanswered, and many

  phone messages do not get returned. In other instances, when purchasers cancel within the 30-

  day window, Defendants tell consumers that their refund is on the way, but the refund is often

  never issued. Consumers often do not get refunds until after the Better Business Bureau or a

  governmental authority contacts Defendants on behalf of consumers who complain about

  Defendants’ refusal to give a refund.

           Defendants Use Remotely Created Checks, an Illegal Method of Payment

  25.     The use of a Remotely Created Payment Order (“RCPO”) to obtain money from a

  consumer in a telemarketing transaction is an illegal method of payment. The RCPO is a check

  or other order of payment that the payee (in this case, the telemarketer) creates electronically,

  with software, using the payor’s (a consumer’s) bank account information. Unlike with a

  conventional check, the payor does not sign the RCPO. Instead, the RCPO usually bears a


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  statement indicating that the account holder (the account from which the money is to be drawn)

  authorized the check, such as “authorized by account holder” or “signature not required.” The

  use of remotely created checks (“RCCs”) in telemarketing transactions is a violation of the TSR.

  Because RCCs are not monitored systemically (indeed, RCCs are difficult, if not impossible, for

  individual financial institutions to monitor as a class), RCCs are often used to evade the

  authorization requirements and strong protections that NACHA has implemented through the

  ACH system.

  26.    Defendants often obtain payment from consumers through the use of remotely created

  checks by obtaining the bank account information of consumers and creating the checks through

  which Defendants access the consumers’ bank accounts to withdraw funds.

                       Defendants Call Numbers on the Do Not Call Registry

  27.    Defendants often place outbound calls to telephone numbers that have been put on the Do

  Not Call Registry by consumers. In fact, the managers of the company continue having their

  telemarketers call these numbers, despite their knowledge that they are on the Do Not Call

  Registry.

  28.    In addition, Defendants have never paid the required annual registration fee charged for

  access to the Do Not Call Registry.

                            Knowledge of the Individual Defendants

  29.    Tony Gonzalez, Charles Gonzalez, and Daniel Kole not only operate and control the

  Corporate Defendants’ deceptive business practices, but they knew, or consciously avoided

  knowing, about the deceptive practices from a steady stream of complaints and publicly-

  available information about AVP’s fraudulent enterprise. In numerous instances, consumers

  complained directly to the Defendants about AVP’s deceptive practices. In other instances, the



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  Better Business Bureau (“BBB”) forwarded consumer complaints directly to AVP. Moreover,

  AVP was publicly designated an “F” rating by the BBB.

  30.    In addition to their knowledge of consumers complaints about AVP’s deceptive practices,

  the individual Defendants play integral roles in the deception itself. Tony Gonzalez supervises

  and provides scripts to AVP telemarketers who are making the deceptive warranty claims to

  consumers. Tony actively takes the files of Do-Not-Call (“DNC”) consumers and dumps them

  back into the computer for AVP telemarketers to call again, illegally reusing DNC-registered

  consumer information. Kole has reviewed and made changes to AVP’s deceptive telemarketing

  scripts. Charles Gonzalez created MPP by registering the company with the Florida Secretary of

  State, even after he and his brother, Tony, were ordered by the Florida Office of Insurance

  Regulation to cease and desist from operating an illegal auto warranty business.

                                            Conclusion

  31.    Based on the facts and violations of law alleged in this Complaint, the FTC has reason to

  believe that Defendants are violating or are about to violate laws enforced by the Commission.

  As recently as November 22, 2021, even after learning of the Commission’s investigation in

  August 2021, Defendants were continuing to make misrepresentations to consumers about

  affiliation, warranty coverage, and refunds; continuing to make telemarketing calls to telephone

  numbers on the Do Not Call Registry; continuing to place outbound telemarketing calls without

  downloading the Registry; and/or continuing to use remotely-created checks.

                                VIOLATIONS OF THE FTC ACT

  32.    Section 5(a) of the FTC Act, 15 U.S.C. §45(a), prohibits “unfair or deceptive acts

  or practices in or affecting commerce.”




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  33.    Misrepresentations of material fact constitute deceptive acts or practices prohibited by

  Section 5(a) of the FTC Act, 15 U.S.C. §45(a).

                                          COUNT I
               Deceptive Representations in Violation of Section 5 of the FTC Act

  34.    In numerous instances in connection with the marketing and sale of purported extended

  automobile warranties, Defendants have represented, directly or indirectly, expressly or by

  implication, that:

         a. they are, are affiliated with, or represent, the car manufacturer or dealer of the car

             owned by the consumer;

         b. Defendants’ warranties provide comprehensive (“bumper-to-bumper” or “full

             vehicle”) coverage, and/or coverage for specific parts or systems for repair; or

         c. consumers can obtain a refund for any reason if they contact AVP within 30 days.

  35.    In truth and in fact, in numerous instances in which Defendants have made the

  representations set forth in Paragraph 34, (a) Defendants are not, are not affiliated with, or do not

  represent the car manufacturer or dealer of the car owned by the consumer; (b) Defendants’

  warranties do not provide comprehensive coverage and/or coverage for specific parts or systems

  that consumers were told would be covered; or (c) Defendants do not refund consumers their

  money when the consumers cancel, or try to cancel, their warranties within 30 days of

  purchasing or receiving the warranty.

  36.    Therefore, Defendants’ representations as set forth in Paragraph 34 are false and

  misleading and constitute deceptive acts or practices in violation of Section 5(a) of the FTC Act,

  15 U.S.C. §45(a).




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                   VIOLATIONS OF THE TELEMARKETING SALES RULE

  37.    In 1994, Congress directed the FTC to prescribe rules prohibiting abusive and deceptive

  telemarketing acts or practices pursuant to the Telemarketing Act, 15 U.S.C. §§6101–6108. The

  FTC adopted the original TSR in 1995, extensively amended it in 2003, and amended certain

  sections thereafter.

  38.    Defendants are “sellers” or “telemarketers” engaged in “telemarketing,” as defined by the

  TSR, 16 C.F.R. §310.2(dd), (ff), and (gg).

  39.    It is a deceptive telemarketing act or practice and a violation of this Rule for any seller or

  telemarketer to engage in misrepresenting, directly or by implication, in the sale of goods or

  services, any of the following material information:

         a. Any material aspect of the performance, efficacy, nature, or central characteristics

             of goods or services that are the subject of a sales offer, 16 C.F.R.

             §310.3(a)(2)(iii);

         b. Any material aspect of the nature or terms of the seller's refund, cancellation,

             exchange, or repurchase policies, 16 C.F.R. §310.3(a)(2)(iv); and

         c. A seller’s or telemarketer’s affiliation with, or endorsement or sponsorship by, any
             person or government entity, 16 C.F.R. §310.3(a)(2)(vii).
  40.    The TSR prohibits sellers and telemarketers from making any false or misleading

  statement to induce any person to pay for goods or services. 16 C.F.R. §310.3(a)(4).

  41.    The TSR prohibits sellers and telemarketers from creating or causing to be created,

  directly or indirectly, a remotely created payment order as payment for goods or services offered

  or sold through telemarketing. 16 C.F.R. §310.4(a)(9). A remotely created payment order

  includes a remotely created check. 16 C.F.R. §310.2(cc).

  42.    Among other things, amendments made to the TSR in 2003 established a “do not
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  call” registry (the “National Do Not Call Registry” or “Registry”), maintained by the FTC, of

  consumers who do not wish to receive certain types of telemarketing calls. Consumers can

  register their telephone numbers on the Registry without charge either through a toll-free

  telephone call or on the internet at www.donotcall.gov.

  43.    Consumers who receive telemarketing calls to their registered numbers can complain

  of Registry violations the same way they registered, through a toll-free telephone call or on the

  internet at www.donotcall.gov, or by otherwise contacting law enforcement authorities.

  44.    The FTC allows sellers, telemarketers, and other permitted organizations to access the

  Registry over the Internet at telemarketing.donotcall.gov, to pay the fee(s) if required, and to

  download the numbers not to call.

  45.    The TSR prohibits sellers and telemarketers from calling any telephone number

  within a given area code unless the seller on whose behalf the call is made has paid the

  annual fee for access to the telephone numbers within that area code that are included in the

  Registry. 16 C.F.R. §310.8.

  46.    Under the TSR, an “outbound telephone call” means a telephone call initiated by a

  telemarketer to induce the purchase of goods or services or to solicit a charitable contribution.

  16 C.F.R. §310.2 (v).

  47.    The TSR prohibits sellers and telemarketers from initiating an outbound telephone

  call to telephone numbers on the Registry. 16 C.F.R. §310.4(b)(1)(iii)(B).

                          Defendants Violate the Do Not Call Rules

  48.    Defendants are “sellers” or “telemarketer[s]” engaged in “telemarketing,” as defined

  by the TSR. 16 C.F.R. §310.2.

  49.    Defendants are sellers of extended automobile warranties, also known as vehicle service



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  agreements, to consumers. Defendants have called consumers in the United States to induce the

  purchase of the products Defendants are selling.

  50.    Defendants are also telemarketers that initiate outbound telephone calls to consumers

  in the United States to induce the purchase of the products Defendants are selling.

  51.    Defendants have engaged in telemarketing by a plan, program, or campaign

  conducted to induce the purchase of goods or services by use of one or more telephones and

  which involves more than one interstate call.

  52.    Defendants have called consumers’ telephone numbers that are on the National Do

  Not Call Registry without limiting such calls to persons who previously purchased or inquired

  about the goods or services Defendants are selling.

  53.    Defendants have called telephone numbers in various area codes without first paying

  the annual fee for access to the telephone numbers within such area codes that are included in the

  National Do Not Call Registry.

                  VIOLATIONS OF THE TELEMARKETING SALES RULE

  54.    Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. §6102(c), and Section

  18(d)(3) of the FTC Act, 15 U.S.C. §57a(d)(3), a violation of the TSR constitutes an unfair or

  deceptive act or practice in or affecting commerce, in violation of Section 5(a) of the FTC Act,

  15 U.S.C. §45(a).

                                         COUNT II
                                 Misrepresentation of Affiliation

  55.     In numerous instances, Defendants have misrepresented, directly or indirectly, expressly

  or by implication, that they are affiliated with, or endorsed or sponsored by, the car manufacturer

  or dealer of the car owned by the consumer.




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  56.      Defendants’ acts or practices, as set forth in Paragraph 55 above, are deceptive

  telemarketing acts or practices that violate the TSR, 16 C.F.R. §310.3(a)(2)(vii).

                                        COUNT III
          Misrepresentations of Material Aspects of the Performance, Efficacy, Nature, or
                           Central Characteristics of the Goods

  57.      In numerous instances, Defendants have misrepresented, directly or indirectly, expressly

  or by implication, material aspects of the performance, efficacy, nature or central characteristics

  of the goods or services they sell, including, but not limited to, that the extended automobile

  warranties they sell provide comprehensive (“bumper-to-bumper” or “full vehicle”) coverage

  and/or coverage for specific parts or systems for repair.

  58.      Defendants’ acts or practices, as set forth in Paragraph 57 above, are deceptive

  telemarketing acts or practices that violate the TSR, 16 C.F.R. §310.3(a)(2)(iii).

                                        COUNT IV
                                  Misrepresentation of Refund

  59.      In numerous instances, Defendants have misrepresented, directly or indirectly, expressly

  or by implication, that the consumer can get a refund by cancelling with AVP within 30 days of

  purchasing the warranty or of receiving the warranty.

  60.      Defendants’ acts or practices, as set forth in Paragraph 59 above, are deceptive

  telemarketing acts or practices that violate the TSR, 16 C.F.R. §310.3(a)(2)(iv).

                                      COUNT V
        Use of Remotely Created Payment Orders in Connection with Telemarketing

  61.     In numerous instances, Defendants have created or caused to be created, directly or

  indirectly, a remotely created payment order (a remotely created check), as payment for goods or

  services offered or sold through telemarketing.




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  62.     Defendants’ acts or practices, as set forth in Paragraph 61 above, are abusive

  telemarketing acts or practices that violate the TSR, 16 C.F.R. §310.4(a)(9).

                                         COUNT VI
                 Making Calls in Violation of the National Do Not Call Registry

  63.     In numerous instances, in connection with telemarketing, Defendants have initiated,

  or caused others to initiate, an outbound telephone call to a person’s telephone number that is on

  the National Do Not Call Registry.

  64.     Defendants’ acts or practices, as set forth in Paragraph 63 above, are abusive

  telemarketing acts or practices that violate the TSR, 16 C.F.R. §310.4(b)(1)(iii)(B).

                                            COUNT VII
                               Failing to Pay National Registry Fees
  65.     In numerous instances, in connection with telemarketing, Defendants have initiated,

  or caused others to initiate, an outbound telephone call to a telephone number within a given area

  code when Defendants had not, either directly or through another person, paid the required

  annual fee for access to the telephone numbers within that area code that are included in the

  National Do Not Call Registry, in violation of the TSR, 16 C.F.R. §310.8.

                                       CONSUMER INJURY

  66.     Consumers are suffering, have suffered, and will continue to suffer substantial injury as a

  result of Defendants’ violations of the FTC Act and the Telemarketing Sales Rule. Absent

  injunctive relief by this Court, Defendants are likely to continue to injure consumers and harm

  the public interest.

                                       PRAYER FOR RELIEF

  Wherefore, the FTC requests that the Court:

          A.      Enter a permanent injunction to prevent future violations of the FTC Act and the

  Telemarketing Sales Rule by Defendants;

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         B.      Grant preliminary injunctive and ancillary relief;

         C.      Award monetary and other relief within the Court’s power to grant, including

  rescission or reformation of contracts, the refund of money, the return of property, or other relief

  necessary to redress injury to consumers; and

         D.      Award any additional relief as the Court determines to be just and proper.

  Dated: February 8, 2022                               Respectfully submitted,



                                                         /s/ Harold E. Kirtz
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